         Case 1:09-cr-20022-TLL-CEB ECF No. 77, PageID.341 Filed 01/04/23 Page 1 of 2

PROB 12C-2                                                                                                  PACTS          DATE
(Rev. 08/18)     VIOLATION REPORT Emergency                                  U. S. Probation Office
                                                                             Eastern District of Michigan   30122          01/04/2023
                 Warrant Request
NAME                                                    OFFICER                       JUDGE                         DOCKET #
DEGRATE, Delani Mosi                                    Eric S. Olmstead              Thomas L. Ludington           09-CR-20022-01
ORIGINAL              SUPERVISION TYPE   CRIMINAL HISTORY     TOTAL OFFENSE LEVEL     PHOTO
SENTENCE DATE                            CATEGORY
03/18/2010            Supervised                              34
                                         VI
                      Release
COMMENCED
12/30/2022
EXPIRATION

12/29/2030

ASST. U.S. ATTORNEY                      DEFENDANT ATTORNEY

Roy Kranz                                To Be Determined
REPORT PURPOSE

     EMERGENCY JUDICIAL RESPONSE REQUESTED

ORIGINAL OFFENSE

Count 1: 21 U.S.C. § 841(a)(1), Possession With Intent to
Distribute Crack Cocaine.
SENTENCE DISPOSITION

Custody of the Bureau of Prisons for a term of 235 months, to be followed by a 120-month term of supervised
release.

Sentence Reduction: August 30, 2019: Order Regarding Motion for Sentence Reduction Under the First Step Act of
2018, custodial sentence was reduced to 199 months, with an eight-year term of supervised release to follow. All other
conditions of the original judgment remain in full force and effect.

ORIGINAL SPECIAL CONDITIONS

      1. The defendant shall not incur any new credit charges or open additional lines of credit without the
         approval of the probation officer, unless the defendant is in compliance with the payment schedule.
      2. The defendant shall provide the probation officer access to any requested financial information.
      3. The defendant shall not use or possess alcohol in any consumable form, nor shall the defendant be in the
         social company of any person whom the defendant knows to be in possession of alcohol or illegal drugs
         or frequent an establishment where alcohol is served for consumption on the premises, with the exception
         of restaurants.
      4. The defendant shall participate in a program approved by the probation department for substance abuse,
         which may include testing to determine if the defendant has reverted to the use of drugs or alcohol, if
         necessary
      5. The defendant shall be lawfully and gainfully employed on a full-time basis, or shall be seeking such
         lawful, gainful employment on a full-time basis. "Full-time" is defined as 35 hours per week. In the
         event that the defendant has part-time employment, he shall devote the balance of such 35 hours per week
         to his efforts of seeking additional employment.

               Criminal Monetary Penalty: Special Assessment $100.00 (paid).


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PROB 12C-2                                                                                                                  PACTS          DATE
(Rev. 08/18)       VIOLATION REPORT Emergency                                                U. S. Probation Office
                                                                                             Eastern District of Michigan   30122          01/04/2023
                   Warrant Request
NAME                                                                  OFFICER                         JUDGE                         DOCKET #
DEGRATE, Delani Mosi                                                  Eric S. Olmstead                Thomas L. Ludington           09-CR-20022-01

The probation officer believes that the offender has violated the following condition of Supervised Release:

[ X] New Criminal Charges                                                            [ ] Violent Conduct

[ ] Whereabouts Unknown (Absconder)                                                  [ ] Other

VIOLATION NUMBER            NATURE OF NONCOMPLIANCE



               1            Violation of Mandatory Condition: “THE DEFENDANT SHALL NOT COMMIT
                            ANOTHER FEDERAL, STATE OR LOCAL CRIME”

                            A traffic stop was conducted by the Michigan State Police on a vehicle driven by DEGRATE
                            on January 3, 2023. The stop occurred in the city of Saginaw, Michigan, and DEGRATE was
                            the lone occupant of the vehicle. DEGRATE consented to a search of his vehicle. A substantial
                            amount of cocaine was located in a blue bag within the engine compartment of the vehicle.

                            DEGRATE is currently being held in the Saginaw County Jail, pending arraignment.

I declare under penalty of perjury that the foregoing is true and correct.           DISTRIBUTION
PROBATION OFFICER
                                                                                     Court
s/Eric S. Olmstead/tmg
989-894-8827

SUPERVISING PROBATION OFFICER                                                        PROBATION ROUTING

s/Tracy Kosmas                                                                       Data Entry
313-234-5272

RECOMMENDING TO THE COURT
[X ]           To issue a warrant


                                Superseding Violation Report will follow
THE COURT ORDERS:
[X]            The issuance of a Warrant
[ ]            Others
                                                                                           s/Thomas L. Ludington
                                                                                           United States District Judge

                                                                                           1/4/2023
                                                                                           Date


                                                                             Page 2 of 2
